
683 S.E.2d 382 (2009)
STATE of North Carolina
v.
Vandel NORMAN.
No. 232P09.
Supreme Court of North Carolina.
August 27, 2009.
Benjamin Dowling-Sendor, Assistant Appellate Defender, for Norman.
Anne M. Middleton, Assistant Attorney General, for State of NC.
*383 Prior report: ___ N.C.App. ___, 675 S.E.2d 395.

ORDER
Upon consideration of the petition filed on the 4th of June 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 27th of August 2009."
